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Case Number: 40500202 Count 1 Attorney for the State C, Daniel Brollier
Judicial District 19 Judicial Division It Counsel for Defendant _ Timothy Wallace

__State of Tennessee Retained CAppointea : A Public Defender
“efendant ALTO PARNELL il Alias 90 JUL 2 | Bo
Date of Birth 04/01/1982 sex M Race Black SSN XXX-XX-XXXX
Indictment Filing Date / of TDOC # umieat
JUDGMENT QR
Comes the District Attorney General for the State and the defendant with counsel of record for enti} ef judgment.
Onthe 18th — day of July 2005 __ the defendant:
[X] Pled Guilty [_] Dismissed/Nolle Prosequi Indictment: Class(circle one) Ist A CB) C D_ E _ {X]Felony []Misdemeanor

Offense SALE OF A CONTROLLED SUBSTANCE, >.5 GM. COCAINE

 

CT Nolo Contendere [| Retired/Unapprehended Defendant

[| Guilty Plea - Pursuant to 40-35-313 Amended Charge

 

 

 

 

 

Offense date 12/16/2004 County Montgomery
Is found: Guilty [] Not Guilty Conviction offense SALE OF A CONTROLLED SUBSTANCE, >.5 GM. COCAINE
C] Jury Verdict C] Not Guilty by Reason of Insanity TCAH: 39-17-417 Sentence-imposed date 07/18/2005
[_] Bench Trial Conviction: Class(circle one) Ist A @) C Dp E _ X]Felony [[]Misdemeanor

 

After considering the evidence, the entire record, and all factors in T.C.A. Title 40, Chapter 35, all of which are incorporated by reference herein, the Court's findings & rulings are:

Sentence Reform Act of 1989 Pretrial Jail Credit Period(s):
Offender Status (Check One) Release Eligibility (Check One)
From / / to / /

 

Concurrent with:

 

 

 

 

 

 

 

[_] Mitigated [_]Mitigated 20% —[ ] Multiple Rapist 100%
[X] Standard [_] Mitigated 30% [_] Child Rapist 100% } / | /
[_] Multiple [X] Standard 30%  [_] Repeat Violent 100% | Gonscetve to: From
C] Persistent CT] Multiple 35% - :
Career [_] Persistent 45% [_] Ist Degree Murder From / / to / /
RepeatViolent [| Career 60% L] School Zone

 

 

From / / to / /

 

 

 

 

 

| Violent 100%

[_] County Jail

a Gang Related

 

Sentenced to:

[|] rpoc L] Workhouse

Week-ends CJ Life [_] Life w/out Parole ry Death

55-10-401 - DUI 4th Offense)

Weekends
Minimum service prior to eligibility for work release, furlough, trusty status and rehabilitative programs: % (Misdemeanor Only)

[] Probation [7] Diversion [X] Community Based Alternative- Specify COMMUNITY CORRECTIONS

Sentenced Length: Years Months Days Hours

Mandatory Minimum Sentence Length ( 39-17-417, 39-13-513, 39-13-514 in School Zone or

Period of Incarceration to be Served Prior to Release on Probation: Months Days Hours

Alternative Sentence:

 

 

 

 

 

8 Years Months Days Effective:

Court Ordered Fees and Fines: Restitution: Victim Name
$s Criminal Injuries Compensation Fund Address
$ Sex Offender Tax
$ Court Costs Cost To Be Paid By
$ 2000.00 Fine Assessed [xl Defendant | State Total Amount $ Per Month $

: ine Assess
$ : Other: ] Unpaid Community Servicespare Gongs ESSEEDISNTIGOMPNYERQUNTY — Months

 

 

 

ix] The Defendant having been found guilty is rendered infamous and is ordered to provide sh Ca be for Hepes oh Ne enabisipiry THAT
f

Special Conditions: [| Pursuant to 39-13-524 the defendant is sentenced to community supervi ollgyang 5 nt tence ep HALO pe ry POY OF THE

Aon conte ey WAIWuD WILE Daren ORIGINAL, | NSTRUMENT ON LE IN THIS CASE.
THIS THE: DAY OF , 20 >
CHERYL OASTLE, CIRCUIT COURT CLERK

COURT COSTS ARE WAIVED WHILE DEFENDANT IS IN SCHOOL
COUNT 2 DISMISSED IN SETTLEMENT
| GENERAL CQURT fhe
BY: < conc NE 4 oy t |) DC.
07/18/2005

Date of Entry of Judgment

 

 

 

 

 

    

 

 

Michael R. Jones
Judge's Name

PHBA
Zw yer

Attorney for State/Signature (optional)
Case 3:11-cr-00012 Document 1112-1 Filed 08/03/12 Page 1 of 2 PagelD #: 5656

 

 

CR-3419 (Rev. 3/03) Defendant's Attorney/Signature (optional) RDA 1167
IN THE CRIMINAL/CIRCUIT COURT OF Montgomery COUNTY,

 

 

 

 

Case Number: 40501178 Count# I Attorney for the State HELEN O YOUNG
© _Judicial District: 19th Judicial Division: II Counsel for Defendant TIMOTHY R. WALLACE

 

 

  
 

 

 

 

 

 

 

 

: “ate of Tennessee CRetained MAppointed Public Defender
Ws.
Defendant: ALTO PARNELL Alias:
Date of Birth: 4/1/1982 Sex: M Race: — Black SSN: XXX-XX-XXXX
Indictment Filing Date: 12/6/2005 TDOC # TBI Document CqAioRD
JUDGMENT —~COSIS oe DPM

CHERYL J. CASTLESC CERK
Comes the District Attorney General for the State and the defendant with counsel of record for entry of judgment RCUL Ce CLERK

On the 3rd day of May, 2006, the defendant: BY: D.C.

 

 

lV Pled Guilty C1] Dismissed/Nolle Prosequi Indictment: Class (circle one) I" A B CDE (v1 Felony CJ Misdemeanor
[1] Nolo Contendere [1] Retired/Unapprehended Defendant | Offense: SCHEDULE IH DRUGS: COCAINE/METH <I/2 GRAM
C Guilty Plea — Pursuant to 40-35-313 Amended Charge:
Is found: M Guilty  CINot Guilty Offense Date: __G/A/AR RG 200% _____ County: Montgomery

. . . . Conviction Offense: SCHEDULE IL DRUGS: COCAINE/METH <1/2 GRAM
LI Jury Verdict CL] Not Guilty by Reason of Insanity Is this conviction offense methamphetamine related? 1] Yes I No

OB Trial
ench Tria TCA#: _39-17-417(C) Sentence Imposed Date: __ 5/3/2006
Conviction: Class (circle one) "a B €D &£ vi Felony L] Misdemeanor

 

 

 

 

 

After considering the evidence, the entire record, & all factors in T.C.A. Title 40 Chapter 35, all of which are incorporated by reference herein, the Court’s findings & rulings are:
Sentence Reform Act of 1989 Concurrent with: Pretrial Jail Credit Period(s):

Offender Status (Check One) Release Eligibility (Check One)
J Mitigated L] Mitigated 20% [J Multiple Rapist 100% From 1/13/2006 to 1/13/2006

I Standard LJ] Mitigated 30% (I Child Rapist 100%

C] Multiple l¥I Standard 30% [1 Repeat Violent 100% Consecutive to

. . ul :

C] Persistent C Multiple 35% C1 1" Degree Murder From “to

- 5 ares Violent 4 mh Yo [1 School Zone 40500202 —
»] Repeat Violen areer 60% F

FhEViclent 100% [_] Gang Related rom sto

Sentenced To: [C] Tpoc CL] County Jail LC Workhouse

Sentence Length: Years Months Days Hours Weekends LiLife LiLife w/out Parole [Death

 

 

From . to

 

 

 

 

 

 

 

 

 

 

Mandatory Minimum Sentence Length: 39-17-417, 39-13-513, 39-13-514 in School Zone or 55-10-401 DUI 4" Offense

Period of incarceration to be served prior to release on probation: __ Months _ Days _ Hours Weekends

Minimum service prior to eligibility for work release, furlough, trusty status and rehabilitative programs: % (Misdemeanor Only)
Alternative Sentence: [1 Probation [) Diversion [¥I Community Based Alternative - Specify COMMUNITY CORRECTIONS

6 ___Years Months Days Effective: 5/3/2006

 

Court Ordered Fees and Fines: Restitution: Victim Name
$ Criminal Injuries Compensation Fund Address
$ Sex Offender Tax

$ Court Costs Cost to be Paid by Total Amount $__ Per Month $

$ 2,000.00 Fine Assessed IY] Defendant [J State
$ Other: L_] Unpaid Community Service: ~ sere guns, a Days Weeks _____ Months

 

 

 

 

 

 

 

— FONNESOLE, MOUNT GU
[VJ The Defendant having been found guilty is rendered infamous and ordered to mrevile’ a biological specimen for the purpose. Ot DNA analysis.

Special Conditions ] Pursuant to 39-13-524 the defendant is sentenced to community shot ben IMOSSLIB wright explivnCERTIFY THAT
E FOREGO! ING IS A TRUE AND —aa COPY_OF THE

ORIGINAL IN TRUMENT ON HIS CASE,
AS PER STATE PROBATION ORDER (2) COUNT 2 DISMISSED IN SETTLEMENT — THIS THE“) DAY OF : oils
CHERYL J. CASTLE, CIRCUN OR, wa aD

GENERAL\S is OURTCL
BY es A UR igen Woe f
Michael R Jones X N \ \ Ow \ Sy ON ~ 5/3/2006 <a mld
Judge’s Name Judge’s Signature EO Date of Entry of Judgment
z LOO Kk. |
Attorney for State Srgatusefopione) Defendant’s Attorney/Signature (optional)
CR-3419 (Rev. 3/03) White Crimina : Canary - TN Dept. of Correction/SMS Pink - AOC Goldenrod — Jail r / SL RDA 1167

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Case 3:11-cr-00012 Document 1112-1 Filed 08/03/12 Page 2 of 2 Paget f/b667

 

 

 

 

 

 

 
